






NO. 07-07-0296-CR





IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 10, 2007


______________________________



JOHN ERIC TREVINO,




			Appellant


v.



THE STATE OF TEXAS, 




			Appellee


							_________________________________



FROM THE 33rd DISTRICT COURT OF SAN SABA COUNTY;



NO. 5523; HON. GUILFORD L. JONES III, PRESIDING


_______________________________





ON ABATEMENT AND REMAND


_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

	Appellant appeals from his conviction for possession of a controlled substance with
intent to deliver four or more grams but less than 200 grams in a drug free zone.  On June
15, 2007, the clerk's record was filed.  The reporter's record was due on June 11, 2007. 
An extension motion was filed by the court reporter on July 10, 2007, which was granted
to September 10, 2007.  No extension motion or record was filed.  On September 24,
2007, this court directed the court reporter by letter "to advise the Court of the status of the
reporter's record on or before Thursday, October 04, 2007."  In response, the reporter
called the Clerk of this Court and represented that the record would be mailed no later than
September 28, 2007.  To date, no record or extension motion has been filed with this
Court.

	Accordingly, we abate this appeal and remand the cause to the 33rd District Court
of San Saba County (trial court) for further proceedings.  Upon remand, the trial court shall
immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to
determine the following:

	1.  	why the reporter's record has not been filed,


  	when the reporter's record can reasonably be filed in a manner that
does not further delay the prosecution of these appeal or have the
practical effect of depriving the appellant of his right to appeal, and,

  	whether an alternate or substitute reporter should or can be appointed
to complete the record in a timely manner. 


	

	The trial court shall cause the hearing to be transcribed.  So too shall it 1) execute
findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be
developed a supplemental clerk's record containing its findings of fact and conclusions of
law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be
developed a reporter's record transcribing the evidence and arguments presented at the
aforementioned hearing, if any.  Additionally, the district court shall then file the
supplemental records and reporter's records transcribing the hearing with the clerk of this
court on or before November 9, 2007.  Should further time be needed by the trial court to
perform these tasks, then same must be requested before November 9, 2007.

	It is so ordered.

							Per Curiam

Do not publish.



eport regarding applicable standards of care,
the manner in which the care rendered by the physician or health care
provider failed to meet the standards, and the causal relationship between
that failure and the injury, harm, or damage claimed.

Relators did not allege Shenk's report failed to address each of the subjects necessary to
an expert report under the statute or that his opinions were conclusory.  See American
Transitional Care Centers of Texas, Inc. v. Palacios, 46 S.W.3d 873, 878-79 (Tex. 2001);
Forrest v. Danielson, 77 S.W.3d 842, 847 (Tex.App.-Tyler 2002, no pet). They challenged
Shenk's qualifications to render an expert opinion.  The motion relied exclusively on the text
of the statute and Shenk's report.  After a December 5, 2003 hearing on the motion to
dismiss and other motions then pending, the trial court overruled the motion to dismiss by
written order signed January 14, 2004.  Relators now seek a writ of mandamus directing
the trial court to grant their motion to dismiss. 

	A writ of mandamus is an extraordinary remedy that will issue only (1)  to correct a
clear abuse of discretion or the violation of a duty imposed by law, when (2) there is no
adequate remedy by law.  See Canadian Helicopters v. Wittig, 876 S.W.2d 304, 305 (Tex.
1994) (orig. proceeding).  It is the relator's burden to show entitlement to the relief being
requested.  See Johnson v. Fourth Court of Appeals, 700 S.W.2d 916, 917 (Tex. 1985)
(orig. proceeding).  A court abuses its discretion by ruling arbitrarily, unreasonably or
without reference to any guiding rules and principles.  Downer v. Aquamarine Operators,
Inc., 701 S.W.2d 238, 241-42 (Tex. 1985).  A trial court also abuses its discretion by a clear
failure to analyze or apply the law correctly, because trial courts have no discretion in
determining what the law is or applying the law to the facts.  Walker v. Packer, 827 S.W.2d
833, 840 (Tex. 1992). 

	The second requirement for mandamus relief is met only when a party is in danger
of permanently losing substantial rights if the ruling of the trial court is allowed to stand.  Id.
at 842.  Because a purpose of the expert report requirement of Section 13.01 was to
provide some protection to health care providers from the cost of litigating unmeritorious
claims, this court has held that the erroneous failure to dismiss when an adequate report
is not submitted can meet the second requirement for mandamus relief.  See In re
Rodriguez, 99 S.W.3d 825, 828 (Tex.App.--Amarillo 2003) (orig. proceeding);  In re Morris,
93 S.W.3d 388, 390 (Tex.App.--Amarillo 2002) (orig. proceeding); see also In re Highland
Pines Nursing Home, Ltd., No. 12-03-0221-CV, 2004 Tex. App. Lexis 591 (Tex.App.--Tyler,
January 21, 2004) (orig. proceeding); In re Tenet Hosps., Ltd., 116 S.W.3d 821, 827
(Tex.App.-El Paso 2003) (orig. proceeding); In re Collom &amp; Carney Clinic Ass'n, 62 S.W.3d
924, 929-30 (Tex.App.-Texarkana 2001) (orig. proceeding).   

	At oral argument Ray contended that our Supreme Court's recent denial of several
petitions for writs of mandamus in health care liability cases indicates that mandamus relief
is not appropriately granted to correct a trial court's allegedly improper failure to dismiss
such a case following a challenge to the Section 13.01 report. (4)  Pending a definitive ruling
from the high court, we will adhere in this case to this court's previously-expressed view
that mandamus is available in a proper case.  Rodriguez, 99 S.W.3d at 828. (5)         

	Ray also urges that a challenge to a Section 13.01 report cannot be based only on
a challenge to the expert's qualifications.  Referring to the definition of expert report in
Section 13.01(r)(6), and to the discussion of that definition and of Section 13.01(l) in
Palacios, Ray argues that the only issues to be considered in a motion under Section
13.01(l) are the report's sufficiency as a fair summary of the expert's opinions concerning
liability and causation. Ray points out relators do not argue that Shenk's report did not
contain a fair summary of his opinions concerning the applicable standard of care, its
breach and the causal relationship between the breach and Powell's injuries, and argues
that relators' petition in this court therefore simply is an effort to seek reversal of the trial
court's denial of their motion to exclude Shenk's testimony, (6) relief not properly available by
mandamus.  We disagree.  

	An expert report, as defined in Section 13.01(r)(6), must be the written report of an
expert.  By definition also, a person giving opinion testimony regarding a physician's breach
of accepted standards of medical care is an expert only if qualified to testify under the
requirements of Section 14.01(a).  §13.01(r)(5)(A).  A Section 13.01 report concerning
standards of care for physicians authored by a person who is not qualified to testify under
Section 14.01(a) thus cannot constitute an adequate report.  That the person is so qualified
must appear from the report, with its accompanying curriculum vitae.  See In re Highland
Pines Nursing Home, supra; Chisholm v. Maron, 63 S.W.3d 903, 907 (Tex.App.-Amarillo
2001, no pet.).  It follows that a challenge to adequacy of a report under Section 13.01(l)
may be based on a claim that it fails to demonstrate the person rendering the opinion is
qualified to testify, as well as on other claims of its inadequacy. 

	Shenk testified at the December 5 hearing.  Relators have submitted the reporter's
record from that hearing with their petition in this court, and make reference in their petition
to Shenk's testimony.  As noted, the determination of Shenk's qualifications to provide an
expert report must be made on the basis of the contents of the report and curriculum vitae. 
Chisholm, 63 S.W.3d at 907; see Palacios, 46 S.W.3d at 878.  A court reviewing the
adequacy of a Section 13.01 report should look no further than the report itself, because
all information relevant to the inquiry is contained within its four corners.  Bowie Memorial
Hosp. v. Wright, 79 S.W.3d 48, 52 (Tex. 2002);  Palacios, 46 S.W.3d at 878. Accordingly,
we must make our determination from the four corners of Shenk's report and its attached
curriculum vitae, and we have not taken the record of the December 5 hearing or Shenk's
testimony into consideration in our disposition of relators' petition. 

	Ray's suit alleged that Windisch breached the accepted standard of care in his
performance of the embolization. (7)  Relators' mandamus petition contends the trial court
committed a clear abuse of discretion in failing to dismiss because Shenk's report so clearly
failed to provide a basis on which the court could find he was qualified to render an expert
opinion on the issues of standard of care and breach that it was not a good faith effort to
comply with Section 13.01. The petition separately makes the same contention with respect
to Shenk's qualifications to opine on causation.  Because we conclude that relators are
correct in their contention regarding Shenk's qualifications on the standard of care, we do
not reach their separate argument concerning his qualifications on causation. 

	Shenk is board certified by the American Board of Radiology. He has training and
experience in neuroradiology, as indicated by a 1977-78 fellowship in neuroradiology listed
on his curriculum vitae. He joined the American Society of Neuroradiology in 1979. His
curriculum vitae also reflects some experience in interventional neuroradiology.  In 1978-80, as an assistant professor of radiology, he taught neuroradiology cases for radiology
residents at the University of Tennessee.  In 1987-88, he served at the University of Illinois
as an assistant professor of neuroradiology and interventional procedures.  At oral
argument, Ray emphasized Shenk's board certification in radiology and his teaching
experience in interventional procedures as demonstrating his qualifications as an expert.
His curriculum vitae does not indicate recent experience in interventional procedures. Since
1988, Shenk has served as medical director of several  magnetic resonance imaging
("MRI") centers, his curriculum vitae indicating that at the time of the report, he was serving
as medical director of three such facilities.   

	In a suit against a physician, the expert report required by Section 13.01 is a written
report by an expert qualified to testify under the requirements of Section 14.01(a), which
mandates the witness:  (1) be practicing medicine at the time of his testimony or at the time
the claim arose; (2) have knowledge of the accepted standards of care for the diagnosis,
care, or treatment of the condition involved; and (3) be qualified on the basis of training or
experience to offer an expert opinion on those accepted standards of care. §14.01(a).
Section 14.01(c) provides a court with factors it is to consider in determining whether a
witness's training or experience qualifies the witness as an expert under the Act.  The
factors are whether, at the time the claim arose or when testimony is given, the witness (1)
is board certified or has other substantial training or experience in an area of medical
practice relevant to the claim; and (2) is actively practicing medicine rendering medical care
services relevant to the claim.  Id.  Courts have referred to the standards discussed in
Broders v. Heise, 924 S.W.2d 148 (Tex. 1996), in applying the criteria specified in Sections
14.01(a) and (c).  See Forrest, 77 S.W.3d 842; Hagedorn v. Tisdale, 73 S.W.3d 341
(Tex.App.-Amarillo 2002, no pet.); Tomasi v. Liao, 63 S.W.3d 62 (Tex.App.-San Antonio
2001, no pet.).  Broders teaches that one offering expert medical testimony must establish
that the expert has expertise regarding "the specific issue before the court which would
qualify the expert to give an opinion on that particular subject." 924 S.W.2d at 153.  The
analysis focuses on "the very matter" on which the expert is to give an opinion. Id.  

	In Tomasi, the court affirmed the dismissal of a claim after finding the plaintiff's
expert, a psychiatrist, could not give an expert opinion on the standards of care for post-operative care after neurosurgery, despite his status as a diplomate of the American Board
of Psychiatry and Neurology.  The court noted it was possible for experience similar to that
described in the expert's curriculum vitae to qualify a witness to testify about the specific
matters at issue but, citing Broders, found the witness had not provided sufficiently detailed
information to justify the conclusion he was qualified to do so. 63 S.W.3d at 66. 

	Similarly, in Forrest, an orthopedic surgeon submitted a Section 13.01 report in a suit
against a neurosurgeon and two vascular surgeons over surgery to remove a lumbar disc
protrusion, fuse vertebra and install a pedicle screw and rod system. The court noted that
orthopedic surgery deals with correction of disorders of the skeletal system, that the spine
is a part of that system, and that an orthopedic specialist should be familiar with procedures
to correct problems of the spine. Concluding that the expert's specialization in orthopedics
might thus be relevant to the claim involved in the case, the court nonetheless found there
was nothing in the report and curriculum vitae to indicate his familiarity with the procedures
used by the defendant physicians, and the plaintiffs had failed to establish his qualifications
to give an expert opinion with respect to those procedures. 77 S.W.3d at 848. 

	This court has stated that, in reviewing the qualifications of one rendering a Section
13.01 report, the "issue is the specific subject matter and the expert's familiarity with it."
Hagedorn, 73 S.W.3d at 350, citing Broders, 924 S.W.2d at 153. The requirement that a
Section 13.01 report and curriculum vitae set forth the expert's knowledge of the procedure
being questioned obtains even when the defendant physician and the expert share
certification in the same specialty.  See Richburg v. Wolf, 48 S.W.3d 375, 378
(Tex.App.-Eastland 2001, pet. denied).

	Broders recognized also that when the subject under inquiry is substantially
developed in more than one field, testimony can come from a qualified expert in any one
of them. 924 S.W.2d at 154.  Likewise, courts have recognized that some standards of care
are applicable to multiple schools of practice, and some subjects of inquiry will be common
to all fields of practice.  See Blan v. Ali, 7 S.W.3d 741 (Tex.App.-Houston [14th Dist.] 1999,
no pet.).  In Silvas v. Ghiatas, 954 S.W.2d 50, 54 (Tex.App.-San Antonio 1997, writ
denied), a divided panel found an orthopedic surgeon qualified to testify against a
radiologist as to the issues there involved, stating that the specialties are intertwined and
it is common knowledge that orthopedic surgeons and radiologists work closely together. 

	Except for some conclusory statements, (8)  Shenk's report contains only brief
statements referencing his qualifications. (9)  Both Shenk and Windisch are radiologists.
Nothing in Ray's pleadings or in Shenk's report or curriculum vitae allows us to presume,
though, that the issues involved in this case are so common to radiology that any
credentialed radiologist can testify to the applicable standard of care.  His fellowship in
neuroradiology and his teaching appointments earlier in his career might indicate familiarity
with the interventional procedure Windisch performed on Powell, but cannot reasonably be
said to demonstrate that he has knowledge of the accepted standard of care for the
procedure.  Moreover, despite the statement in Shenk's report that he was then "actively
practicing medicine in rendering medical care services relevant to this case," (10) nothing in
the report connects Shenk's positions since 1988 as medical director of MRI facilities to
expertise in the procedure performed by Windisch.  Absent from the report and curriculum
vitae is any explanation of the manner in which Shenk's credentials carry with them
familiarity with the "very matter" on which he proposes to opine. Broders, 924 S.W.2d at
153.  The conclusory references in the report to Shenk's "extensive" background in
neuroradiology do not bridge the gap. (11) From the four corners of the report and curriculum
vitae, we find no basis for a conclusion that Shenk's training or experience qualify him to
offer an expert opinion on the standard of care for the performance of embolization of brain
tumors, and we must conclude that the report and curriculum vitae cannot reasonably be
read to demonstrate that Shenk is so qualified.  That being the case, the report is not an
expert report within the requirements of Section 13.01.  Chisholm, 63 S.W.3d at 907; see
Palacios, 46 S.W.3d at 879; In re Morris, 93 S.W.3d at 390-91; Whitworth v. Blumenthal,
59 S.W.3d 393, 398-99 (Tex.App.-Dallas, 2000, pet. dism'd by agr.) (en banc).

	In most of the cases on which we have relied for guidance, e.g., Forrest, 77 S.W.3d
at 844; Tomasi, 63 S.W.3d at 63, appellate courts were reviewing decisions of trial courts
to dismiss cases, while we have before us a claim that the trial court has abused its
discretion in failing to dismiss the case.  We consider the requirement that the Section
13.01 report and curriculum vitae set forth the expert's familiarity with the particular
procedure at issue to be sufficiently well established, though, to require its application here. 
Accordingly, we conclude that, under the standards set forth by the Supreme Court in
Palacios, the trial court misapplied Section 13.01(l) to the report submitted by the plaintiff
in this case, and so abused its discretion. See Walker, 827 S.W.2d at 840.  Finding also
that relators  have no adequate remedy by appeal, we will conditionally grant the petition
for writ of mandamus.  We are confident the trial court will grant the relief to which relators
are entitled under Section 13.01(e) and this opinion.  We will direct the Clerk to issue the
writ only in the event the trial court does not do so.

							Per Curiam



1.  Angiography was used to identify arteries supplying blood to the tumor.
2.  Embolization involves placement of small particles and wires into the blood vessels
for the purpose of cutting off the blood supply to a tumor.
3. The Act was former Article 4590i of Texas Revised Civil Statutes. Act of May 5,
1995, 74th Leg., R.S., ch. 140, § 1, 1995 Tex. Gen. Laws 985-87.  It was repealed by Act
of June 2, 2003, 78th Leg., R.S., ch. 204, § 10.09, 2003 Tex. Gen. Laws 884.  The current
version appears at Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.001 - 74.507 (Vernon Pamph.
Supp. 2004).  All section references in this opinion are to the Act prior to its repeal.
4. See In re Woman's Hospital of Texas, Inc., 47 Tex. Sup. Ct. J. 346 (Tex. March 5,
2004). See also In re Hill Regional Hosp., No.10-04-0071-CV (Tex.App.-Waco, April 14,
2004) (orig. proceeding) (Gray, CJ, dissenting).
5.  See also In re Schneider, No. 14-04-0169-CV (Tex.App.-Houston [14th Dist.], May
13, 2004) (orig. proceeding) (noting denial of petition in In re Woman's Hospital and
adhering to the court's prior holding that mandamus is not available in these
circumstances).
6. The trial court's January 14 order also denied relators' motion to exclude plaintiff's
expert, Gregory Shenk, M.D.   
7. Ray's pleadings alleged that "a neuroradiologist of reasonable and ordinary
prudence . . . would have adequately diagnosed the surgical problem, and would not have
caused the 'bleed' in question." They further alleged, duplicating language from Shenk's
Section 13.01 report, that Windisch failed to meet the standards of care in that he
"attempted to perform an ill advised and medically inappropriate intracranial embolization
after learning that the primary blood supply was the right anterior cerebral artery when he
should have withdrawn and notified the neurosurgeon . . ."
8. The report states: "I have knowledge of the accepted standard of care for the
treatment of the condition in question." "I am qualified on the basis of training or experience
to offer an expert opinion regarding those accepted standards of medical care." "I am
actively practicing medicine in rendering medical care services relevant to this case and
in the medical specialty of Radiology."
9. The report further states: "I have been board certified in the medical specialty of
Radiology since 1978. I also have [an] extensive educational background in the field of
Neuroradiology and have been a member of the American Society of Neuroradiology since
1979." The report also states, in its concluding paragraph: "The opinions that I have stated
in this report . . . are based on my training and experience as a board certified Radiologist
with an extensive background in Neuroradiology, and upon reasonable medical probability." 
10. Generally tracking the language of Section 14.01(c)(2).
11. Palacios makes clear that an expert report by which the expert simply states that
he or she knows the standard of care and concludes it was not met is not sufficient to meet
the requirements of Section 13.01.  See Palacios, 46 S.W.3d at 880.  It likewise cannot  be
sufficient for one rendering a section 13.01 report simply to state in conclusory fashion that
he is qualified by training or experience to testify as to a particular matter. Cf. Coastal
Transport Co., Inc. v. Crown Central Petroleum Corp., 47 Tex. Sup. Ct. J. 559 (Tex. May,
14, 2004); Burrow v. Arce, 997 S.W.2d 229, 235 (Tex. 1999).

